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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

DONNA PARRIS                  :
                              :
                              :
v.                            : Civil No. 3:10CV1128 (WWE)
                              :
CHARLES PAPPAS,               :
ROBIN DELANEY,                :
ANNA ALEXIS, LLC, and         :
NORMANDIES PARK,              :
LLC                           :
                              :



                                    ORDER


     On March 27, 2012, this Court granted plaintiff’s Motion

for Sanctions but reserved on entering sanctions.           [Doc. ## 138,

176].    The Court found on the record that it was “clear”

defendants had not made a full disclosure and offered no

legitimate explanation for failing to follow the Court’s order.1

[Doc. # 176 at 115].        The Court opined that a better way to

proceed would be to conduct judgment debtor examinations of

defendants Charles Pappas and Robin Delaney to assist the Court

in crafting appropriate relief. [Doc. # 173 at 115]. On July 19,

2012, the defendant Robin Delaney was examined under oath,



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 The Court further stated, “this is one of those cases where Mr.
Pappas and Ms. Delaney need to understand that a full disclosure
means a full disclosure. It means every interest in property; it
means every specific answer to the questions that are asked even
if the result of that is that there’s no net money for the
plaintiff to necessarily seize at the moment.” Tr. at 116.
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pursuant to Connecticut General Statutes § 52-398. A judgment

debtor hearing of Charles Pappas is scheduled for August 10,

2012.


  This court reserves the right to order additional relief, as

necessary, to remedy continued violation of its orders

concerning non-dissipation of assets, disclosure of assets, and

responses to asset discovery.        The Court enters orders at this

time to prevent further dissipation of assets and to sanction

the defendants for noncompliance with its orders.           Charles

Pappas, Robin Delaney, Anna Alexis, LLC and Normandies Park, LLC

shall:


  1. On or before August 30, 2012, provide or produce certified

     bank records for the time period of May 20, 2010 to August

     15, 2012, for the following bank accounts:

          a. # 9860002193026

          b. # 9860002935816

          c. # 9860003725141

          d. # 9860001867044

          e. # 9860002838862

  2. Insofar as any of the bank accounts identified in paragraph

     1a through 1e of this order disclose transfers and deposits

     between May 20, 2010 and August 15, 2012, with any other

     unidentified bank accounts, the defendants shall, on or


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  before August 30, 2012, document all activities in said

  accounts by certified bank records for the time period of

  May 20, 2010 to August 15, 2012.

3. Effective immediately, the defendants are ordered to make

  no withdrawal, transfer or expenditure of any kind from any

  bank account identified in paragraph 1a through 1e of this

  order, or any other bank account subsequently identified in

  response to paragraph 2 of this order. Any accounts that

  are used by defendants for the payment of ongoing expenses

  for the LLCs must be clearly identified and defendants will

  provide a list of ongoing expenses that are being paid out

  of any account. All of these accounts are to remain

  unchanged until further order from this court.         This order

  does not include the as yet unidentified account that Ms.

  Delaney opened for direct deposit of her pay check. Ms.

  Delaney will identify the bank and account number for the

  account she is currently using for the direct deposit of

  her pay check.

4. On or before August 30, 2012, all funds in all bank

  accounts not previously disclosed by the defendants, but

  which have now been identified, shall be tendered to Ms.

  Parris, through her attorneys at the Connecticut Fair

  Housing Center, Inc.



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5. On or before August 30, 2012, the defendants are to

  produce to the plaintiff all documents, and communications

  concerning (as those terms are defined by Local Rule 26)

  any mechanics lien or encumbrance of any kind placed on the

  property commonly known as Normandies Park Mobile Home

  Park, or Normandies Park, or the addresses 282 Putnam Pike,

  284 Putnam Pike and 286 Putnam Pike, Dayville, Connecticut.

  This shall include, without limitation, full and up to date

  payment histories for any encumbrance on said properties.

6. On or before August 30, 2012, the defendants are to produce

  to the plaintiff all documents, as defined by Local Rule

  26, all communications, as defined by Local Rule 26,

  concerning, as defined by Local Rule 26, the malpractice

  action against attorney Thomas Lonardo.        This shall include

  without limitation any document referenced or relied upon

  in the Complaint or Amended Complaint that have been filed

  in the malpractice action against attorney Thomas Lonardo.

  Defendants’ counsel will provide a privilege log to

  plaintiff at the time of the disclosure or the privilege

  will be waived.

7. On or before August 30, 2012, the defendants shall produce

  all payments, checks, invoices, agreements to pay, or

  assignment(s) of proceeds from the malpractice action

  against attorney Thomas Lonardo, or contracts of any kind

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  with Attorney Donn Swift or the law firm Lynch, Traub,

  Keefe & Errante, P.C.     To the extent the defendants wish to

  raise an attorney-client privilege objection or other basis

  to withhold any document or information, they must contact

  this court before August 30, 2012. Defendants’ counsel will

  provide a privilege log to plaintiff at the time of the

  disclosure or the privilege will be waived.

8. On or before August 15, 2012, the defendant Robin Delaney

  must provide title to the 2005 Lexus she currently drives

  to her counsel to be held until further order of the Court.

  Plaintiff will file a motion to levy the Lexus within ten

  days of this order.

9. On or before August 30, 2012, the defendant Robin Delaney

  is ordered to provide certified bank records for any bank

  account over which she has/or has had signatory authority

  between January 1, 2012 and August 15, 2012.

10. The defendants are ordered to provide a complete and up to

  date payment history for any mortgage or other encumbrance

  on any property owned by any defendant or any LLC in which

  any defendant is a member, including without limitation:

     a. Complete and up to date payment history, including the

        amount currently due and owing on any mortgage or

        encumbrance on any property owned by Max CT, LLC;



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  b. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

     encumbrance on any property owned by Otis Street, LLC;

  c. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

     encumbrance on any property owned by Normandies Park,

     LLC;

  d. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

     encumbrance on any property owned by Anna Alexis, LLC;

  e. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

     encumbrance on any property owned by Crystal Creek

     Farms, LLC;

  f. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

     encumbrance on any property owned by Northeast Waste,

     LLC;

  g. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

     encumbrance on any property owned by Pappas Homes,

     LLC;

  h. Complete and up to date payment history, including the

     amount currently due and owing on any mortgage or

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            encumbrance on any property owned by Plainfield

            Transfer, LLC;

         i. Complete and up to date payment history, including the

            amount currently due and owing on any mortgage or

            encumbrance on any property owned Pappas Family Trust,

            LLC; or

         j. Complete and up to date payment history, including the

            amount currently due and owing on any mortgage or

            encumbrance on any property owned any other Limited

            Liability Company in which any defendant is a member.

    11. On or before August 30, 2012, the defendants will provide

      documentation (as defined by Local Rule 26) concerning any

      interest transferred from Gunther Zissler to Corina Peltak

      in Max CT, LLC and/or Otis Street, LLC or any other

      business entity in which any defendant is a member from May

      20, 2010 to the present.      The Court notes that defendant

      Pappas was ordered to provide this information at the March

      27, 2012, hearing on the motion for sanctions.2 [Doc. #176

      at 116-117].




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 After ordering the information on the undisclosed properties and
LLCs, the Court stated, “And right now, Mr. Pappas, you and Ms.
Delaney are on really thin ice and it’s very important that you
do more than make a sort of half-hearted attempt to get this
information for the Plaintiff.” [Doc. #176 at 116-117].


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12.        On or before August 30, 2012, the defendants will

  provide complete bank records for Max CT, LLC and Otis

  Street, LLC between May 20, 2010 and August 15, 2012.

13.        On or before August 15, 2012, Charles Pappas will

  update plaintiff’s counsel as to his current address,

  telephone number, and occupation.

14.        Defendants have a continuing duty to provide plaintiff

  with supplemental documentation concerning all accounts

  referenced herein.

15.        A follow-up evidentiary hearing on plaintiff’s motion

  for sanctions is scheduled for September 5, 2012, at 11:00

  AM. The Court will hear from the parties on defendants’

  compliance with this order, alleged dissipation of assets

  and noncompliance with outstanding court orders.            Plaintiff

  may propose an appropriate sanction.

16.        Plaintiff’s request for attorney’s fees relating to

  her motion to compel and for sanctions is GRANTED.

  Plaintiff is entitled to attorneys’ fees not previously

  awarded that have been incurred in seeking a complete

  disclosure of assets, in attempting to prevent the

  dissipation of assets, and in post-judgment discovery.

  Plaintiff’s counsel shall submit affidavits detailing the

  time they have spent on or before September 1, 2012.

  Thereafter, plaintiff’s counsel shall submit a Supplemental

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    Motion for Attorneys’ Fees and Costs with additional

    affidavits and time records every six months until

    collection is complete.


     This is not a recommended ruling.       This is a discovery

ruling and order which is reviewable pursuant to the "clearly

erroneous" statutory standard of review.      28 U.S.C. ' 636

(b)(1)(A); Fed. R. Civ. P. 6(a), 6(e) and 72(a); and Rule 2 of

the Local Rules for United States Magistrate Judges.        As such,

it is an order of the Court unless reversed or modified by the

district judge upon motion timely made.


    SO ORDERED at Bridgeport this 6th day of August 2012.




                                 ______/s/_____________________
                                 HOLLY B. FITZSIMMONS
                                 UNITED STATES MAGISTRATE JUDGE




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